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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, Ph.D.,
        Plaintiff

  v.

  MICHAEL J. LINDELL, FRANKSPEECH LLC,
  AND MY PILLOW, INC.,
       Defendants


       PLAINTIFF’S MOTION TO COMPEL DEPOSITION TESTIMONY FROM
       DEFENDANT MICHAEL J. LINDELL AND MOTION FOR SANCTIONS
                  PURSUANT TO F.R.C.P. 30 AND F.R.C.P. 37


  TO THE HONORABLE THE UNITED STATES DISTRICT COURT:

         Plaintiff Eric Coomer, Ph.D. (Dr. Coomer), through counsel, files this Motion to

  Compel and for Sanctions, stating in support thereof as follows:

                            CERTIFICATE OF CONFERRAL

         Plaintiff has conferred with counsel for Defendants. Defendants are opposed to

  the relief requested herein.

                                    INTRODUCTION

         During three depositions, Defendant Michael J. Lindell (Mr. Lindell) was vulgar,

  threatening, loud, disrespectful to Dr. Coomer’s counsel and the Court, evasive, and

  largely non-responsive to questioning. His last deposition, taken in Minneapolis on

  August 23, 2023, ended after Mr. Lindell left the witness chair during an unscheduled




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  break while, again, disparaging counsel. This led to the suspension of the deposition and

  the filing of this Motion.

         Dr. Coomer is providing the Court with the transcripts of the three depositions and

  selected video evidence but wishes to focus the Court’s attention on the most recent

  deposition of Mr. Lindell. Through this Motion, Dr. Coomer seeks an order compelling

  Mr. Lindell to appear before the Court or the Magistrate Judge in Denver, Colorado, so

  that decorum can be maintained and contemporaneous rulings can be sought during a

  rescheduled deposition. Dr. Coomer further seeks attorney fees and expenses associated

  with Mr. Lindell’s discovery abuse.

         Pursuant to the Amended Protective Order [Dkt. 149], which allows a window for

  confidentiality designations that has not yet expired, Dr. Coomer files the August 23,

  2023 deposition transcript of Mr. Lindell under seal, (Exhibit 1), and submits it for

  conventional filing as part of the record in this matter, along with video footage of the

  deposition (Exhibits 2-5) for the Court’s review on a USB flash drive in a folder identified

  as CONFIDENTIAL. The transcripts for the March 8-9, 2023 30(b)(6) deposition of

  MyPillow, Inc., (Exhibit 6-7), and the March 9, 2023 30(b)(6) deposition of

  FrankSpeech LLC, (Exhibit 8), as well as excerpted video footage for each

  (Exhibits 9-34) are also included as exhibits not under seal as the window for

  confidentiality   designations   with   respect   to   those   depositions   has   expired.

  Exhibits 6-34, as well as below identified Exhibit 35 may be accessed via this link:

  https://caincloud.egnyte.com/fl/fYk81AMK4m; however, are also being submitted for




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  conventional filing as part of the record in this matter on a USB flash drive in a folder

  separate from that identified as CONFIDENTIAL.

                                        I.       BACKGROUND

          1.      Prior to the deposition of Mr. Lindell in his individual capacity, which was

  scheduled by agreement of the parties for August 23, 2023, Mr. Lindell had been deposed

  in his corporate capacity for the named corporate Defendants herein My Pillow, Inc. (on

  March 8-9, 2023), and Frankspeech LLC (on March 9, 2023).

          2.      During both prior depositions of Mr. Lindell, he was combative, vulgar,

  disrespectful, non-responsive, evasive, and consistently loud. He constantly refused

  requests to answer the questions asked, to slow down in his responses (primarily for the

  court reporter’s benefit, who refused to come back for a second day and had to be

  replaced), and to speak quietly and clearly. He repeatedly demeaned Dr. Coomer’s

  counsel in derogatory, personal attacks, including derisive references such as “ambulance

  chasing asshole.1”       Dr. Coomer’s counsel objected to his answers as non-responsive

  numerous times, and he was repeatedly reprimanded on the record by counsel present.2

          3.      Mr. Lindell’s August 23 deposition, in his personal capacity, was even more

  chaotic. Dr. Coomer attended this deposition, and Mr. Lindell acknowledged his presence



  1 See Exhibits 6-7, 30(b)(6) Depo. Tr. MyPillow, Inc., (March 8-9, 2023), at 7:1-8:1; 9:20-10:20;
  12:14-16:18; 93:11-19; 99:9-15; 103:2-24; 105:2-5; 181:1-182:3; 186:22-187:6; 208:15-22; 209:19-25;
  233:11-24; 263:5-17; 277:4-278:7; 279:13-280:6; 288:2-14; 289:16-21; 392:2-393:7; see also
  Exhibits 9-26. See Exhibit 8, 30(b)(6) Depo. Tr. FrankSpeech LLC (March 9, 2023), at 142:15-143:5;
  149:17-150:9; 203:10-19; 276:24-277:6; 280:7-9; 295:20-25; 296:6-298:3; 306:14-25; see also
  Exhibits 27-34.
  2 See Exhibits 6-7, at 12:14-16:18; 35:2-8; 52:14; 59:25-60:25; 102:7-103:24; 110:2-111:25; 116:2-3; 209:19;

  224:8-225:19; 225:20-226:13; 266:17-20; 280:10-281:14; 284:16-286:22; 289:22-24; 382:4-10; 392:2-17.
  See also Exhibit 8, at 208:15-22.




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  by simply stating, “disgusting slime.” Indeed, Mr. Lindell’s conduct was so outrageous

  that counsel for Dr. Coomer alerted Mr. Lindell’s counsel of the potential for sanctions

  even before the parties went on the record.3

          4.       The attached transcripts and videos speak for themselves, but various

  matters warrant discussion.            Mr. Lindell made numerous personal attacks on both

  Dr. Coomer and his counsel, referring to them as “criminals,” “liars,” “slime,”

  “disgusting,” “ambulance chasers,” and “ridiculous,” among various other pejoratives too

  numerous to list here.4 He sarcastically referred to counsel as “your highness,”5 answered

  questions by stating “let me see if I can get this through your thick skull,”6 and repeatedly

  shouted, “what is wrong with you?”7 He repeatedly referred to Judge Wang as “disgusting”

  while mocking these proceedings.8

          5.       Mr. Lindell refused to provide a direct answer to virtually every question

  asked, instead opting to shout over Dr. Coomer’s counsel and then provide lengthy,

  meandering filibusters that each consumed substantial amounts of time and several pages

  of transcript. Counsel objected to these non-sequiturs as non-responsive no less than




  3 Mr. Lindell subsequently confirmed this interaction had occurred, and insisted that his use of the phrase

  “disgusting slime” be captured on the record. See Exhibit 1, 74:7-75:8.
  4 See, e.g., Exhibit 1, Depo. Tr. Michael Lindell, (Aug. 23, 2023), at 6:9-11; 7:18-8:7; 8:10-9:9; 10:10-11:20;

  18:3-19:2; 80:4-81:10; 96:3-97:24; 144:20-145:25; 149:17-150:18; 160:10-23; 209:20-211:4; 223:1-25;
  287:13-24; 307:1-7; 330:24-331:9; 357:11-358:17.
  5 Id., at 48:22-50:17.

  6 Id., at 96:3-97:24.

  7 Id., at 160:10-23; 287:13-24.

  8 Id., at 78:21-79:25; 80:4-81:10




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  thirty-three (33) times.9 Both Dr. Coomer’s counsel and Mr. Lindell’s counsel made

  numerous efforts to manage Mr. Lindell’s outrageous and disruptive conduct, but to no

  avail. At least twenty-six separate admonitions on the record from both counsels were

  entirely futile.10

          6.       In addition to this stream of constant personal attacks and refusals to

  answer questions, Mr. Lindell insisted on various breaks. At one point, he left the

  deposition to go appear on Steve Bannon’s podcast “War Room.”11 He kept his cell phone

  on and insisted on taking calls.12 Dr. Coomer’s counsel finally suspended the deposition

  when Mr. Lindell again stood up and walked out of the room to take a call, shouting that

  Dr. Coomer’s counsel was a “jerk” as he left.13 The video record of these events is provided

  herein and is demonstrably worse than any attempt to describe the conduct.

          7.       On account of these constant breaks and disturbances, when Dr. Coomer’s

  counsel finally suspended the deposition at 3:47 p.m., he had only managed to complete

  a total of 4 hours and 35 minutes on the record with Mr. Lindell in his individual capacity.



  9 Id., at 25:7-27:9; 29:5-30:7; 41:23-42:1; 48:18-19; 52:7-8; 52:17-18; 57:9-10; 64:23-65:1; 77:7-8;
  103:22-104:18; 104:19-25; 113:5-114:21; 138:1-24; 139:20-141:14; 144:20-145:25; 156:14-158:8; 179:8-16;
  185:18-187:6; 197:16-199:18; 202:6-203:18; 218:10-219:11; 280:18-281:20; 283:23-284:14; 295:9-296:10;
  300:2-301:9; 309:4-310:18; 324:18-325:9; 327:13-328:23; 332:1-333:11; 336:5-337:14; 339:4-340:19;
  340:23-341:24; 342:3-344:3.
  10Id., at 8:18-10:9; 13:9-17; 20:4-5; 21:15-20; 27:22-23; 31:22; 48:22-50:17; 73:21-74:4; 75:13-76:11;
  131:19-20; 143:15-144:3; 146:15-21; 149:17-150:18; 165:21-166:18; 178:6-10; 179:8-16; 184:17-185:9;
  189:10-17; 193:25-194:9; 209:20-211:4; 212:10-213:1; 223:1-25; 242:24-243:20; 276:18-23; 307:1-7;
  330:24-331:6.
  11 Exhibit 35, Bannon’s War Room Podcast, Episode 2975: Selling out MAGA With Your Dollar; Return

  of the Mask (Aug. 23, 2023). Mr. Lindell started the interview by stating, “Well, Steve, I had to jump into a
  room here. I’m in the middle of deposition for a big attack on MyPillow right now.” Bannon concluded the
  interview by stating, “Go back into your deposition and give ‘em hell. Give ‘em hell from the war room.”
  12 Id., at 100:16-101:2; 114:22-115:16; 122:16-22; 288:14-25; 357:11-358:17.

  13 Id., at 357:11-358:17.




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  During this time, Dr. Coomer’s counsel was barely able to complete any questioning at all

  on account of Mr. Lindell’s shouting, rapid-fire filibusters and refusals to allow counsel to

  ask questions. This repetitive shouting of non-sequiturs amounted to a remarkable

  367 pages of transcript, despite the relatively brief duration recorded. Upon suspension

  of the deposition, Dr. Coomer’s counsel specifically noted on the record the numerous

  topics he had prepared to address but was unable to because of Mr. Lindell’s

  obfuscation.14

          8.       Throughout these events, Mr. Lindell’s counsel was incapable of managing

  his conduct and was unable to get the deposition back on track. Dr. Coomer recognizes

  the challenges associated with representing such an unmanageable client, and does not

  seek sanctions against Mr. Lindell’s counsel at this time. Nonetheless, the Rules impose

  duties on attorneys in these circumstances too, and Dr. Coomer requests an Order

  similarly putting counsel on notice that their clients’ conduct will not be tolerated.

                                  II.   LEGAL STANDARD

          9.       Imposition of sanctions for abuse of discovery is a matter within the

  discretion of the trial court. Orjias v. Stevenson, 31 F.3d 995, 1005 (10th Cir. 1994).

  FED. R. CIV. P. 30(c)(1) requires that “. . . [t]he examination and cross-examination of a

  deponent proceeds as they would at trial . . . .” In addition, Federal Rule of Civil

  Procedure 30(d)(2) allows the Court to “impose an appropriate sanction–including the

  reasonable expenses and attorney's fees incurred by any party–on a person who impedes,

  delays, or frustrates the fair examination of the deponent.”


  14 Id., at 362:6-366:7.




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         10.    Pursuant to Federal Rule of Civil Procedure 37(a)(4), evasive responses

  during a deposition are treated “as a failure to disclose, answer, or respond.” Carroll v.

  Allstate Fire & Cas. Ins. Co., No. 12-CV-00007-WJM-KLM, 2014 WL 859238, at *7

  (D. Colo. Mar. 4, 2014). In addition, F.R.C.P. 30(d)(2) allows to Court to “impose an

  appropriate sanction, including the reasonable expenses and attorney’s fees incurred by

  any party, on a person who impedes, delays, or frustrates the fair examination of the

  deponent.” Although often applied to third parties accused of interrupting the deposition,

  the Rule supports the imposition of sanctions based on the deponent’s own behavior

  during the deposition. Id. (citing Rapaport v. Soffer, 2013 WL 6451768, at *5 (D. Nev.

  Dec. 9, 2013); Van Stelton v. Van Stelton, 2013 WL 5574566, at *18 (N.D. Iowa Oct. 9,

  2013) (awarding sanctions based on the behavior of the deponent and stating “the express

  language of Rule 30(c) applies to any participant in the deposition . . . .”); GMAC Bank v.

  HTFC     Corp., 248    F.R.D.    182,    193 (finding   deponent's     behavior    violated

  Rule 37(a)(3)(B)(i) and Rule 30(d)(2) and imposing sanctions on the deponent).

         11.    The imposition of sanctions under Rule 30(d)(2) requires the movant to

  identify language or behavior that impeded, delayed, or frustrated the fair examination of

  the deponent. See F.R.C.P. 30(d)(2). When making this inquiry, the Court will look to:

  (1) the specific language used (e.g. use of offensive words or inappropriate tones); (2) the

  conduct of the parties (e.g. excessive objections or speaking objections); and (3) the

  length of the deposition. Second, the movant must identify “an appropriate sanction.”

  Dunn v. Wal-Mart Stores, Inc., 2013 WL 5940099, at *5 (D.Nev. Nov. 1, 2013).




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                                     III.   ARGUMENT

  A.     Sanctions are warranted under F.R.C.P. 30

         12.    Pursuant to Federal Rule of Civil Procedure 30(d)(2), the Court may impose

  an appropriate sanction, including attorneys fees incurred by any party, on a person who

  impedes, delays, or frustrates the fair examination of the deponent. F.R.C.P. 30(d)(2);

  see also D.C.COLO.LCivR 30.3(d) (“When a judicial officer determines that a party . . .

  unreasonably has interrupted, delayed, or prolonged a deposition, . . . that party or its

  counsel, or both, may be ordered to pay each other party's expenses, including without

  limitation, reasonably necessary . . . attorney fees . . . for that portion of the deposition

  determined to be excessive.”).      Holland v. Williams, No. 1:16-CV-00138-RM-MLC,

  2018 WL 942228, at *1 (D. Colo. Feb. 12, 2018).

         13.    Mr. Lindell’s conduct during his August 23, 2023 deposition easily meets

  the standard for sanctions under Rule 30, and in fact far exceeds other instances where

  this Court has issued relief similar to that sought here. For example, in Carroll v. Allstate

  Fire and Casualty Ins. Co., the Court awarded attorney’s fees and costs against an expert

  witness who engaged in personal attacks against counsel and repeated obstructionist

  tactics throughout his deposition. No. 12-CV-00007-WJM-KLM, 2014 WL 859238, at

  *10-11 (D. Colo. Mar. 4, 2014). In support of its finding, the Court in Carroll noted

  instances where the deponent would not allow counsel to ask questions, mocked his

  approach to the deposition, and issued personal attacks. Id. at pp. 8-10.

         14.    The dozens of record cites provided above are too numerous to address

  individually here, but a few examples are illustrative of the conduct at issue here.




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           •        Mr. Lindell started the deposition by referring to this case as “the
                    criminals versus Mike Lindell,”15

           •        Mr. Lindell went on to refer to Dr. Coomer and his counsel as
                    “criminals” at least another thirteen times.16

           •        Mr. Lindell referred to both Dr. Coomer (who was present for the
                    deposition) and his counsel, stating, “Anybody that would do what
                    you and this guy have done is disgusting, it’s slimy, you’re an
                    ambulance chasing, slimy, scumbag lawyer.           And you’re a
                    money-grubbing, evil person. And your client there for him going
                    after MyPillow and my employees, same thing. End of story.”17

           •        In response to a question about whether he harbored ill will against
                    Dr. Coomer and his counsel, Mr. Lindell stated, “I think you’re one
                    of the slimiest lawyers that ever walked the planet in the United
                    States. One of the slimiest. Anybody, and your client, for whatever
                    gain you got to try and – to extract people and hurt people for your
                    own monetary gain. I think it’s the slimiest, scummiest lawyer –
                    you’re the reasons that our law system in this country should be
                    looked at because ambulance chasing, slimy lawyers like yourself.”18

           •        When reprimanded for his constant non-responsiveness, even by his
                    own counsel, Mr. Lindell responded, “I’m so sorry, Your Highness,”19
                    and continued with the exact same conduct.

           •        Mr. Lindell showed contempt for the Court by repeatedly referred to
                    U.S. District Judge Wang as “disgusting.”20

           •        In response to a question about the basis for his published comments
                    about Dr. Coomer, Mr. Lindell started his response with, “I will
                    answer this as clear as I can to get it through your thick skull.”21



  15 Id., at 7:18-8:7.

  16 Id., at 9:6-9; 10:10-11:8; 20:12-21:2; 21:15-25; 210:9-211:4

  17 Id., at 74:19-75:2.

  18 Id., at 72:8-74:4.

  19 Id., at 48:22-50:17.

  20 Id., at 78:21-79:25; 80:4-81:10.

  21 Id., at 96:3-97:24




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           •        Mr. Lindell left the deposition to go appear on Steve Bannon’s
                    podcast, where he discussed the deposition while promoting
                    MyPillow products.22

           •        Mr. Lindell was reprimanded for his abusive, non-responsive,
                    interrupting, disrespectful, and evasive conduct literally dozens of
                    times, including repeatedly by his own counsel, and still refused to
                    make any effort to adjust his conduct.23

           15.      The result of this conduct was to effectively render all of Dr. Coomer’s

   preparations for the deposition, and the deposition itself, a complete waste of time and

   resources for everyone involved. Under these circumstances, sanctions are appropriate

   and necessary.

   B.      Sanctions are warranted under F.R.C.P. 37

           16.      As noted above, pursuant to Federal Rule of Civil Procedure 37(a)(4),

   evasive responses during a deposition are treated “as a failure to disclose, answer, or

   respond.” Carroll v. Allstate Fire & Cas. Ins. Co., No. 12-CV-00007-WJM-KLM, 2014

   WL 859238, at *7 (D. Colo. Mar. 4, 2014).

           17.      Mr. Lindell’s conduct throughout the entirety of his deposition was evasive

   in the extreme. His countless refusals to answer the questions asked, or to even allow

   counsel to ask them, are rightly understood as failures to disclose, answer, or respond.

   Sanctions are, therefore, appropriate under Federal Rule of Civil Procedure 37 as well.

   C.      Relief Sought

           18.      Dr. Coomer requests all attorney fees and costs associated with preparation

   for the deposition, the deposition itself, all related costs associated with travel and


   22 Id., at 114:22-115:16; 122:16-22; see also Exhibit 35.

   23 Supra n. 10-11.




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   accommodations, and all fees associated with this Motion and any reply. Dr. Coomer will

   submit an affidavit of fees and costs when briefing on this matter is concluded and

   assuming the Court grants the requested relief.

           19.     Dr. Coomer also requests an order compelling Mr. Lindell to appear in the

   United States Courthouse in Denver, Colorado, for a rescheduled deposition. This relief

   is necessary to maintain decorum and for Dr. Coomer to seek contemporaneous rulings

   or orders, if necessary. It is important to note that Mr. Lindell’s abusive conduct and

   rhetoric are part of a pattern that has escalated over time.24 His personal contempt for

   Dr. Coomer and his counsel is palpable, and his own counsel is incapable of managing his

   conduct. The discovery deadline has expired, and Dr. Coomer cannot risk traveling for

   another futile attempt to obtain deposition testimony from Mr. Lindell where he shouts

   non-sequiturs for hours on end which would lead to another time-consuming motion to

   compel thereafter. The interests of the parties and the Court are best served by an order

   compelling the continuation of Mr. Lindell’s deposition to take place in a forum where it

   is most likely to serve its intended function. The requested relief is in keeping with this

   Court’s practice in this same proceeding, where at least one other uncooperative witness

   was previously compelled to appear for deposition at the Alfred A. Arraj United States

   Courthouse to provide deposition testimony.25




   24 See, e.g., Exhibits 6-8.

   25 See Minute Order, Dec. 13, 2022 [Dkt. 86], compelling Joseph Oltmann to appear for a deposition at the

   Alfred A. Arraj United States Courthouse.




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                                   IV.    CONCLUSION

         For the reasons stated above, Eric Coomer, Ph.D. requests an order awarding the

   following:

         •      All fees and costs associated with preparation for the deposition;

         •      All fees and costs associated with traveling to and from Minnesota to
                conduct the deposition, including accommodations;

         •      All fees and costs associated with taking the deposition itself;

         •      Attorney fees associated with review of the transcripts and drafting
                of this Motion and any associated reply; and

         •      An order compelling Mr. Lindell to appear before the Court or the
                Magistrate Judge in Denver, Colorado, for a period of seven (7) hours
                on the record in order to complete his individual deposition.

         Respectfully submitted this 7th day of September 2023.


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